                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF IOWA
                                  EASTERN DIVISION

    UNITED STATES OF AMERICA,                                   No. 23-cr-1020-CJW
                    Plaintiff,
    vs.                                                    STIPULATED DISCOVERY ORDER
    MATTHEW DAVID KEIRANS,
                    Defendant.

          The Court hereby ORDERS 1 compliance with the following discovery agreement
of the parties:
          1.     The Government will include in its discovery file, or otherwise make
available, law enforcement reports (excluding evaluative material of matters such as
possible defenses and legal strategies, or other attorney work product), grand jury
testimony and evidence or existing summaries of evidence in the custody of the United
States Attorney’s Office that provide the basis for the case against Defendant. The file
will include Rule 16, Brady, and Jencks Act materials of which the United States
Attorney’s Office is aware and possesses. 2 The Government is also authorized to disclose
any tax information in its file for use consistent with this Order. The discovery file will
not contain evidence that the Government has decided to use only for impeachment of
defense witnesses or as possible rebuttal evidence.




1
 This order was revised on November 29, 2022. The parties are on notice that their duties and responsibilities
have changed from what the Court has required in prior orders.

2
 Pursuant to the Due Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (2020), the Court confirms the
Government’s obligation to produce all exculpatory evidence to Defendant as required by Brady v. Maryland, 373
U.S. 83 (1963), and its progeny, and orders it to do so. Failing to do so in a timely manner may result in
consequences consistent with the law and circumstances of the violation, including, but not limited to, continuance
of trial, exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings, or sanctions
by the Court.



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       2.     The Government may redact or withhold information from the discovery
file to comply with federal law (e.g. 18 U.S.C. § 3509(m)), for security concerns, or to
protect an ongoing investigation. Alternatively, the Government may require that such
materials be reviewed, but not copied, at the United States Attorney’s Office, or at a
designated law enforcement agency. The Government may also redact certain personal
identifiers or means of identification to protect the privacy or proprietary interests of any
person or entity. This does not preclude Defendant from requesting in camera review of
such material by the Court, upon proper showing, in order to determine whether it should
be disclosed. Where the Government withholds information from the discovery file
pursuant to this provision, notice of the withholding of information, along with a general
description of the type of material withheld, will be included in the discovery file unless
the nature of the information withheld is otherwise obvious from a review of the redacted
discovery.
       3.     Original evidence in the possession of a law enforcement agency, or any
information that is required to be viewed at the United States Attorney’s Office, may be
viewed during business hours by scheduling an appointment to do so with the United
States Attorney’s Office.
       4.     Any material or information provided by the Government pursuant to this
Order, and any transcription, summary, notes, or dictation thereof (collectively
“discovery material”) may only be used in connection with the above-captioned federal
criminal case now pending against Defendant and for no other purpose. Discovery
material provided by the Government shall not be disclosed to, or used by, any person,
other than Defendant, Defendant’s counsel, or any person retained by or working on
behalf of Defendant’s counsel, and may not be used or disclosed in any proceeding not
part of the pending criminal case. This provision does not prohibit the sharing of
information in the above-captioned federal criminal case between or among counsel who
are subject to this Order or an identical order. No discovery material shall be shared

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with other defendants or their counsel who are not subject to this Order or an identical
order, except through the offer of exhibits. In the event the defense deems it necessary
to attach or offer any grand jury transcript or exhibit, or any document containing
personal identifiers or means of identification as referenced in paragraph 2, above, to any
pleading or in any public filing or proceeding in connection with this case, Defendant
shall first request permission of the Court to file such item under seal.
       5.     Discovery material may be shown to and discussed with Defendant but must
remain at all times in the sole custody of Defendant’s attorney or any person retained by
or working on behalf of Defendant’s counsel. Under no circumstances may any discovery
material be left with or given to Defendant or any other person. Absent explicit written
authorization of the United States Attorney’s Office, the defense shall not photocopy or
reproduce any discovery material.        Defense counsel also agrees not to show any
memoranda, or witness interviews to any potential witness in the case, other than
Defendant or any person retained by or working on behalf of Defendant’s counsel, except
that any potential witness may be shown or allowed to review his or her recorded or
transcribed testimony, or any written statement signed or expressly adopted by that
person.
       6.     The Government will provide in advance of trial information relating to
witnesses reasonably anticipated to be called during its case-in-chief that it has determined
falls within the standard established by Giglio v. United States, 405 U.S. 150 (1972).
The Government may also provide other information relating to witnesses reasonably
anticipated to be called during its case-in-chief that it has determined may potentially be
impeaching or otherwise relevant. Further, in advance of trial, the Government will
make available for review “rap” sheets of non-law enforcement witnesses reasonably
anticipated to be called as witnesses during its case-in-chief. At the Government’s
discretion, any potential Giglio information related to law enforcement witnesses must be
reviewed at the U.S. Attorney’s office. The Government reserves the right to submit

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any potential Giglio information to the Court for in camera review to determine such
information falls within the Giglio standard.
         7.    If the attorney for Defendant is subsequently allowed to withdraw from this
case, defense counsel shall promptly return all discovery materials to the Government.
         8.    Any discovery material, including copies thereof, provided pursuant to the
above provisions, must be returned to the Government or destroyed at the conclusion of
the trial, sentencing, or appeal, whichever is later.
         9.    Upon disclosure of the Government’s discovery file, Defendant shall
immediately provide, and shall be under a continuing obligation to provide, disclosure of
statements as defined in 18 U.S.C. § 3500(e)(1) & (2) and reciprocal discovery under
Fed. R. Crim. P. 16(b) and 26.2.
         10.   Defendant understands and agrees that the Government’s discovery file
generally satisfies the Government’s notice obligation pursuant to Fed. R. Crim. P.
12(b)(4) and Fed. R. Evid. 404(b), 609(b) and 807(b). However, if Defendant identifies
specific evidence in the discovery file and asks the Government whether it intends to seek
to introduce such evidence pursuant to Fed. R. Crim. P. 12(b)(4), or Fed. R. Evid.
404(b), 609(b) or 807(b), the Government will advise Defendant whether it intends to
use such evidence and, if it intends to offer such evidence pursuant to Fed. R. Evid.
404(b), will identify the purpose for which it will be offered under the rule without further
motion or order. The parties also acknowledge that, pursuant to Fed. R. Crim. P. 16,
they have each requested a written summary of any expert testimony the opposing party
intends to offer under Rules 702, 703, or 705 of the Federal Rules of Evidence during
their respective cases in chief, and they hereby agree to provide the discovery required
by Fed. R. Crim. P. 16(a)(1)(G) (from the Government) and Fed. R. Crim. P.
16(b)(1)(C) (from the Defendant) no later than twenty-eight (28) days before trial. The
parties also acknowledge a continuing duty to disclose pursuant to Fed. R. Crim. P.
16(c).

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       11.    The parties will exchange a list of prospective witnesses and a list of
prospective exhibits no later than seven business days prior to trial. For witnesses for
whom there exists no written statements or reports of statements subject to disclosure
through discovery, the party listing the witness shall also note next to the witness’s name
on the list the general purpose of his or her expected testimony.
       12.    The parties agree that they will attempt to resolve any disputes involving
discovery and reciprocal discovery between themselves before filing any discovery-
related motions (including motions for bills of particulars) with the Court, consistent with
the requirements of Local Rule 37(a).
       13.    The parties agree that the terms of this agreement extend to other lawyers,
staff, and investigators working with or on behalf of the undersigned counsel, including,
but not limited to, other employees or lawyers associated with defense counsel’s law
practice, and any investigators retained by or acting on behalf of Defendant, as well as
employees of the United States Attorney’s Office.
       14.    Should Defendant become aware of any material or other information
(including but not limited to Brady and Giglio information) it believes is required by this
Order to be included in the discovery file, but has not been so included, Defendant will
notify the United States Attorney’s Office and request that such information be added to
the discovery file.
       15.    The parties reserve the right to contest the admissibility of any information
disclosed pursuant to this Order.
       16.    Any violation of this Order may be brought to the attention of the Court to
determine the appropriate remedy.




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17.   This Order imposes a continuing duty to disclose on all parties.
IT IS SO ORDERED.
DATED this 13th day of December, 2023.




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